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   The Honorable T.S. Ellis                                            2217 Federal Ave East
   United States District Court Judge                                      Seattle, WA 98102
   United States District Court for the                                      +1.415.846.5864
      Eastern District of Virginia                                       zenfish@gmail.com
   401 Courthouse Square
   Alexandria, Virginia 2231

                          Daniel Farmer

   Dear Judge Ellis –
   This is a letter of attesting to the good character of Muneeb Akhter.
   My name is Daniel Farmer, and I’ve been working professionally in computer
   science for over 25 years. During that time I’ve been the top security architect for
   four Fortune 500 companies (including the largest security company in the
   world), started my own company (which rose to 50 employees), testified about
   security to our US Congress and as an expert witness in federal courts, wrote a
   book and numerous articles on computer security, given many talks, classes, &
   seminars, been inducted into the Information Systems Security Association
   (ISSA) Hall of Fame, and am a Marine Corps veteran (0311/infantry in Desert
   Storm.)
   I met Mr. Akhter and his brother while doing research in a DARPA1 Program for
   cyber security. I was immediately struck by their collective intelligence, the
   ingenuity of their work, and was looking forward to seeing what they’d create in
   the future in what seemed to be an extraordinary start. I kept in contact with
   them as they started their own company, and was floored to find out that they
   had [] I’m well aware of the seriousness of Mr. Akhter’s actions, and feel that our
   justice system will mete out a fair and just penalty for his crimes. That said []
   In no fashion do I condone or agree with any of his actions – they were foolish,
   reckless, and criminal. It might seem striking that this young wunderkind – the
   youngest-ever graduate of George Mason University – could possibly go so far
   astray. But it’s been my personal experience in dealing with many other brilliant
   young people is that while they can be wizards with computers they are often
   stupendously under-socialized, live in an isolated fashion on their computers,
   and often have a muted understanding as to the consequences of their actions
   from societal and legal standpoints. It simply takes them longer to learn some
   things.
   Judge Ellis – I’m not asking for clemency, but I am asking for a modicum of
   mercy for this young man. He still has such promise to do positive, even great
   things in life that I feel it would be an even greater tragedy to keep him in prison
   for the majority of his remaining life. While no one can predict the future, studies
   have shown that white-collar criminals have a substantially lower recidivism rate
   than other criminal types, and I have faith that Mr. Akhter will be a positive force

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    Defense Advanced Research Projects Agency, the emerging technologies research foil for our US
   military
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   in our society upon release. Indeed, from what I understand while in prison he’s
   finally realized the gravity of his situation and has already started helping other
   prisoners attain a GED and learn about computers. I urge you to consider the
   minimum sentence – which is still several years in prison – for Mr. Akhter.
   Please don’t hesitate to contact me if you wish to discuss anything.


   Sincerely –



   Dan Farmer
